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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 2017CV1292

  DAWN OSBORNE,

         Plaintiff,

  v.

  ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY,

         Defendant.


                       DEFENDANTS’ NOTICE OF REMOVAL


         COMES NOW the Defendant, Allstate Fire and Casualty Insurance

  Company, by and through counsel, The Ross-Shannon Law Firm, P.C., and

  pursuant to 28 U.S.C.A. § 1446, hereby removes the above action from the District

  Court for the County of Denver, based on the following grounds:

         The above action was filed in the District Court, Denver County, Colorado

  and is now pending in that Court. Process, including a Summons and Complaint,

  and Plaintiff’s District Court Civil Case Cover Sheet for Initial Pleading of

  Complaint, was served on the Defendant on the Commissioner of Insurance on

  May 5, 2017.

         1.      The Plaintiff alleges that this action is a civil action involving an

  amount in controversy exceeding $100,000, exclusive of interest and costs.

  Specifically, in Plaintiff’s District Court Civil Case Cover Sheet for Initial Pleading

  of Complaint, Paragraph 3 Plaintiff checked the box stating C.R.C.P. Rule 16.1

  does not apply, because he is seeking over $100,000.

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         2.       Plaintiff’s First Claim for Relief is for Improper Denial of Claims and

  Unreasonable Delay or Denial of Benefits, includes reference to the insurance

  policy contract for Underinsured policy limits of $100,000, and the allegation of a

  potential for recovery of twice the covered benefit’s amount plus the actual benefit

  amount, or $300,000.

         3.       A copy of the declarations page of the insurance contract is attached

  as Exhibit 1.

         4.       A Complaint that presents a combination of facts and theories of

  recovery that may support a claim in excess of $75,000 can support removal to

  federal court. McPhail v. Deere & Co., 529 F.3d 947 (2008); 28 U.S.C.A. §

  1332(a).

         5.       The amount in controversy is no proof of the amount the plaintiff will

  recover. Rather, it is an estimate of the amount that will be put at issue in the

  course of litigation.    To this end, documents that demonstrate plaintiff’s own

  estimation of its claim are a proper means of supporting the allegations in the

  notice of removal, even though they cannot be used to support the ultimate amount

  of liability. McPhail, at 956.

         6.       Moreover, this is a civil action between parties of diverse citizenship

  for which this Court, has original jurisdiction under 28 U.S.C.A. § 1332. Plaintiff is

  a citizen of the State of Colorado, and Defendant is a citizen of the State of Illinois.

  No change of citizenship has occurred since the commencement of this action.

         7.       Defendant is entitled to remove the above action from the State

  District Court to the United States District Court pursuant to 28 U.S.C.A. § 1446(a).



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         8.     Copies of all process and pleadings served on Defendant are

  attached and filed with this Notice.


  Dated: May 26, 2017                Respectfully submitted,



                                            s/ Bradley Ross-Shannon
                                     Bradley Ross-Shannon
                                     Mark J. Gauthier
                                     THE ROSS-SHANNON LAW FIRM, P.C.
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                                     Attorney for Defendants
                                     Allstate Fire and Casualty Insurance Company
                                     and Allstate

  Defendant’s Address:

  2775 Sanders Road
  Northbrook, IL 60062




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                          CERTIFICATE OF SERVICE

         I hereby certify that on May 26, 2017, a true and correct copy of the
  foregoing NOTICE OF REMOVAL was electronically filed with the Clerk of Court
  via CM/ECF which will send notification and served on the following:

              Jordan S. Levine, Esq.
              Andrew J. Phillips, Esq.
              Sarah G. Freedman, Esq.
              4500 Cherry Creek Drive South, Suite 400
              Denver, CO 80246
              jordan@levlawllc.com
              andrew@levlawllc.com
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                                 Signed original document maintained and
                                 available pursuant to Rule 121

                                         s/Barbara Brown




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